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                                                                        IN CLERKS OFRCE
                                                                    US DISTRICT COURT E.D.N.Y.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                                  0?2018 ^

                                                                    BROOKLYN OFFICE
In The Matter Of,

FREDERICK M. OBERLANDER,an
attorney admitted to practice before this
Court,                                                       ORDER
                       Respondent.                           16-MC-2637




         This matter is before the Committee on Grievances for the United States District Court


for the Eastern District of New York on the respondent's motion for stay of discipline pending

his appeal. Familiarity with the facts is assumed. For the reasons below,the Committee grants

the respondent's motion to stay.

         A court must consider the following four factors before granting a stay pending appeal:

"(1) whether the movant will suffer irreparable injury absent a stay,(2) whether a party will

suffer substantial injury ifa stay is issued,(3)whether the movant has demonstrated a substantial

possibility, although less than a likelihood, ofsuccess on appeal, and(4)the public interests that

may be affected." Hirschfeld v, Bd. ofElections in City ofNew York, 984 F.2d 35, 39(2d Cir.

1993)(internal quotation marks and citations omitted). "The probability of success that must be

demonstrated is inversely proportional to the amount of irreparable injury plaintiff will suffer

absent the stay. Simply stated, more of one excuses less ofthe other." Mohammed v. Reno, 309

F.3d 95(2d Cir. 2002).

         Although the Committee finds that the respondent has not established a substantial

possibility ofsuccess on appeal, the remaining factors weigh heavily in favor of granting the

respondent's motion to stay. The respondent will suffer irreparable injury absent a stay; the term



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of his suspension may very well expire before the Second Circuit decides his appeal. The

Committee also finds that no party will suffer substantial injury if a stay is issued.

       Accordingly, the respondent's motion for stay of discipline pending appeal is granted.

SO ORDERED.

                                                        s/Ann M. Donnelly
                                                      Hon. Ann M. Donnelly, U.S.D^
                                                      Chair of the Committee on Grievances
                                                      For the United States District Court
                                                      Eastern District of New York


Dated: Brooklyn, New York
       November 7, 2018
